Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 1 of 35 PageID: 7




                           EXHIBIT 1
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 2 of 35 PageID: 8
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 3 of 35 PageID: 9
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 4 of 35 PageID: 10
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 5 of 35 PageID: 11
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 6 of 35 PageID: 12
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 7 of 35 PageID: 13
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 8 of 35 PageID: 14
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 9 of 35 PageID: 15
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 10 of 35 PageID: 16
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 11 of 35 PageID: 17
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 12 of 35 PageID: 18
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 13 of 35 PageID: 19
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 14 of 35 PageID: 20
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 15 of 35 PageID: 21
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 16 of 35 PageID: 22
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 17 of 35 PageID: 23
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 18 of 35 PageID: 24
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 19 of 35 PageID: 25
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 20 of 35 PageID: 26
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 21 of 35 PageID: 27
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 22 of 35 PageID: 28
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 23 of 35 PageID: 29
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 24 of 35 PageID: 30
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 25 of 35 PageID: 31
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 26 of 35 PageID: 32
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 27 of 35 PageID: 33
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 28 of 35 PageID: 34
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 29 of 35 PageID: 35
                ESX L 003821-19 05/23/2019 4:54:43 AM Pg 1 of 1 Trans ID: LCV2019907524
      Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 30 of 35 PageID: 36
ESSEX COUNTY - CIVIL DIVISION
SUPERIOR COURT OF NJ
465 MARTIN LUTHER KING JR BLVD
NEWARK           NJ 07102
                                              TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (973) 776-9300
COURT HOURS 8:30 AM - 4:30 PM

                              DATE:   MAY 22, 2019
                              RE:     ESSEX SURGICAL LLC    VS AETNA LIFE INSURANCE   COM
                              DOCKET: ESX L -003821 19

       THE ABOVE CASE HAS BEEN ASSIGNED TO:   TRACK 2.

     DISCOVERY IS   300 DAYS AND RUNS FROM THE FIRST ANSWER OR 90 DAYS
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

       THE PRETRIAL JUDGE ASSIGNED IS:   HON JEFFREY B. BEACHAM

        IF YOU HAVE ANY QUESTIONS, CONTACT TEAM      001
AT:    (973) 776-9300.

      IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
 CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
      PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
                            ATTENTION:
                                             ATT: JORDAN B. DASCAL
                                             DASCAL LAW LLC
                                             350 SPRINGFIELD AVE
                                             STE 200
                                             SUMMIT           NJ 07091

ECOURTS
           ESX L 003821-19 10/05/2019 4:55:53 AM Pg 1 of 1 Trans ID: LCV20191814473
Case
-    2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 31 of 35 PageID: 37

 ESSEX COUNTY - CIVIL DIVISION
 SUPERIOR COURT OF NJ
 465 MARTIN LUTHER KING JR BLVD
 NEWARK           NJ 07102
                                      DISMISSAL NOTICE

 TELEPHONE - (973) 776-9300,56907 CASE MGMT       TEAM 001
 COURT HOURS: 8:30 AM - 4:30 PM

                  DATE: OCTOBER 04, 2019
                    RE: ESSEX SURGICAL LLC    VS AETNA LIFE INSURANCE    COM
                DOCKET: ESX L -003821 19
                PARTY:   AETNA LIFE INSURANCE




        PLEASE TAKE NOTICE THAT ON DECEMBER 03, 2019 (60 DAYS FROM DATE OF
 THIS NOTICE), THE COURT WILL DISMISS THE ABOVE PARTY OR PARTIES FOR LACK OF
 PROSECUTION WITHOUT PREJUDICE, PURSUANT TO RULE 1:13-7 OR RULE 4:43-2 UNLESS ACTION
 REQUIRED UNDER THE ABOVE RULES IS TAKEN.


  HON JEFFREY B. BEACHAM                                          ATT: JORDAN B. DASCAL
_________________________________                                 DASCAL LAW LLC
      JUDGE                                                       350 SPRINGFIELD AVE
                                                                  STE 200
                                                                  SUMMIT           NJ 07091
       ESX-L-003821-19 11/19/2019 11:31:07 AM Pg 1 of 2 Trans ID: LCV20192130758
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 32 of 35 PageID: 38



 Jordan B. Dascal – NJAID #903842012
 Dascal Law LLC
 350 Springfield Ave, Ste 200
 Summit, NJ 07901
 T: (732) 930-1110
 F: (732) 307-6952
 jordan@dascallaw.com
 Attorney for Plaintiff

                                                   Superior Court of New Jersey
 Essex Surgical LLC,                               Essex County, Law Division

                             Plaintiff,            Docket No.: ESX-L-3821-19

 vs.                                                                Civil Action

 Aetna Life Insurance Company d/b/a Aetna,
                                                          Certification of Due Diligence
                            Defendant.

 I, Jordan B. Dascal, hereby certify as follows:

        1.      I am the attorney who represents Plaintiff in this case.

        2.      Pursuant to ​R. 4:4-5(b), I have made a diligent inquiry about the address of the

 Aetna Life Insurance Company d/b/a Aetna (“Defendant”) and have concluded that this

 Defendant likely has no address in New Jersey.

        3.      I examined the Defendant’s website, which indicated that this particular Aetna

 company does not have a New Jersey address.

        4.      I examined the online New Jersey Department of Banking and Insurance website

 at www.nj.gov/dobi/servproc.htm, which provides a list of licensed insurance companies.

 Defendant had no address listed within this state.




                                                   1
      ESX-L-003821-19 11/19/2019 11:31:07 AM Pg 2 of 2 Trans ID: LCV20192130758
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 33 of 35 PageID: 39



        5.     I certify that the foregoing statements made by me are true. I am aware that if any

 of the foregoing statements made by me are willfully false, I am subject to punishment.




 Dated: 11/19/19                             /s/ Jordan B. Dascal
                                             Jordan B. Dascal
                                             Attorney for Plaintiff




                                                2
      ESX-L-003821-19 12/03/2019 5:38:29 PM Pg 1 of 1 Trans ID: LCV20192221135
Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 34 of 35 PageID: 40
             Case 2:19-cv-21739-MCA-LDW Document 1-1 Filed 12/20/19 Page 35 of 35 PageID: 41

                                                               Case Summary
Case Number: ESX L-003821-19
Case Caption: Essex Surgical Llc Vs Aetna Life Insurance Com
Court: Civil Part                                        Venue: Essex                                   Case Initiation Date: 05/22/2019
Case Type: Contract/Commercial Transaction               Case Status: Active                            Jury Demand: 6 Jurors
Case Track: 2                                            Judge: Jeffrey B Beacham                       Team: 1
Original Discovery End Date:                             Current Discovery End Date:                    # of DED Extensions: 0
Original Arbitration Date:                               Current Arbitration Date:                      # of Arb Adjournments: 0
Original Trial Date:                                     Current Trial Date:                            # of Trial Date Adjournments: 0
Disposition Date:                                        Case Disposition: Open                         Statewide Lien:

Plaintiffs
Essex Surgical Llc
Party Description: Business                                                                             Attorney Name: Jordan B Dascal
Address Line 1:                                                     Address Line 2:                     Attorney Bar ID: 903842012

City:                             State: NJ                         Zip: 00000                          Phone:

Attorney Email: JORDAN@DASCALLAW.COM

Defendants
Aetna Life Insurancecompany AKA D/B/A Aetna
Party Description: Business                                                                             Attorney Name:
Address Line 1:                                                     Address Line 2:                     Attorney Bar ID:
City:                             State: NJ                         Zip: 00000                          Phone:
Attorney Email:
Case Actions
Filed Date        Docket Text                                                                     Transaction ID           Entry Date
                  Complaint with Jury Demand for ESX-L-003821-19 submitted by DASCAL, JORDAN B,
5/22/2019         DASCAL LAW LLC on behalf of ESSEX SURGICAL LLC against AETNA LIFE               LCV2019901744            5/22/2019
                  INSURANCE COMPANY D
5/23/2019         TRACK ASSIGNMENT Notice submitted by Case Management                            LCV2019907524            5/23/2019
                  LACK OF PROSECUTION DISMISSAL WARNING Notice submitted by Case
10/5/2019                                                                                         LCV20191814473           10/5/2019
                  Management
                  AFFIDAVIT OF DILIGENT INQUIRY submitted by DASCAL, JORDAN, B of DASCAL LAW
11/19/2019                                                                                        LCV20192130758           11/19/2019
                  LLC on behalf of ESSEX SURGICAL LLC against AETNA LIFE INSURANCECOMPANY
                  AFFIDAVIT OF SERVICE submitted by DASCAL, JORDAN, B of DASCAL LAW LLC on
12/3/2019                                                                                         LCV20192221135           12/3/2019
                  behalf of ESSEX SURGICAL LLC against AETNA LIFE INSURANCECOMPANY
